Case: 1:19-cr-00028-JG Doc #: 8 Filed: 01/16/19 1of 4. PagelD #: 33

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IN THE UNITED STATES DISTRICT COURT! ¥!) 1S PH & 29
' FOR THE NORTHERN DISTRICT OF OHIO |... -..
EASTERN DIVISION MEN Gee
UNITED STATES OF AMERICA, ) INDICTME NT nar a
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Plaintiff, ) { , 1 : aay
Liig c¢
v. ) CASENO. 7 C K
yo - Title 21, Sections 841(a)(1),
MATTHEW MULFORD, ) (b)(1)(C), (h), 846 and 853,
) United States Code; Title 18,
Defendant. ) Sections 982(a)(1) and 1956¢h),
) United States Code
COUNT 1
(Conspiracy to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1),
(b)(1)(C), and 846)
The Grand Jury charges:
1. From on or about January 1, 2015 to on or about October 4, 2018, the exact dates

unknown to the Grand Jury, in the Northern District of Ohio, Eastern Division, and elsewhere,
Defendant MATTHEW MULFORD, and others known and unknown to the Grand Jury, did
knowingly and intentionally combine, conspire, confederate, and agree to distribute and possess
with the intent to distribute mixtures or substances containing a detectable amount of alprazolam,
a Schedule IV controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1), (b)(1)(C), and 846.
Case: 1:19-cr-00028-JG Doc #: 8 Filed: 01/16/19 2 of 4. PagelD #: 34

COUNT 2
(Distributing Controlled Substances by Means of the Internet, in violation of 21 U.S.C. § 841(h))

The Grand Jury further charges:

2. From on or about January 1, 2015 to on or about October 4, 2018, the exact dates
unknown to the Grand Jury, in the Northern District of Ohio, Eastern Division, and elsewhere,
Defendant MATTHEW MULFORD, and others known and unknown to the Grand Jury, did
knowingly and intentionally deliver, distribute, and dispense a controlled substance by means of
the internet: to wit, Defendant used dark net marketplace accounts, encrypted communication
applications, and a TOR hidden service site to distribute controlled substances over the internet
to customers, in violation of Title 21, United States Code, Sections 841(h) and (b)(1)(C).

COUNT 3
(Conspiracy to Launder Money, in violation of 18 U.S.C. § 1956(h))

The Grand Jury further charges:

3. From on or about January 1, 2015 to on or about October 4, 2018, the exact dates
unknown to the Grand Jury, in the Northern District of Ohio, Eastern Division, and elsewhere,
Defendant MATTHEW MULFORD, and others known and unknown to the Grand Jury, did
knowingly, and intentionally conspire to commit money laundering, in violation of Title 18,
Section 1956(a)(1).

4, It was a part and object of the conspiracy that Defendant MATTHEW
MULFORD, and others known and unknown to the Grand Jury, did knowingly and intentionally
combine, conspire, confederate, and agree to conduct and attempt to conduct financial
transactions affecting interstate and foreign commerce, which transactions involved the proceeds
of specified unlawful activity, to wit: conspiracy to distribute and possess with intent to

distribute controlled substances, in violation of Title 21, United States Code, Sections 841(a)(1)
Case: 1:19-cr-00028-JG Doc #: 8 Filed: 01/16/19 3o0f 4. PagelD #: 35

and 846, knowing that the transactions were designed in whole and in part to conceal and
disguise the location, source, ownership and control of the proceeds of said specified unlawful
activity, and while conducting and attempting to conduct such financial transactions, knew that
the property involved in the financial transaction represented the proceeds of some form of
unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)().

5. It was part and object of the conspiracy that the Defendants:

a. Utilized digital currency (such as Bitcoin) to conceal and disguise the
nature, location, source, ownership and control of the drug proceeds;

b. Maintained and controlled digital currency addresses through which
customers paid them in exchange for narcotics;

c. Used digital currency exchanges to convert cryptocurrency drug
trafficking proceeds into official fiat currency;

d. Utilized mixing and tumbling services for the digital currency
transactions. These mixing and tumbling services assisted them in
attempting to obscure the historical trail of digital currencies transferred
from drug customers to Defendant; and

e. Used dark net marketplace escrow services.

All in violation of Title 18, United States Code, Section 1956(h).
FORFEITURE
The Grand Jury further charges:
6. The allegations contained in Counts 1 and 2 of this Indictment are hereby re-
alleged and incorporated by reference as if fully set forth herein for the purpose of alleging

forfeiture pursuant to the provisions of Title 21, United States Code, Section 853. As aresult of
Case: 1:19-cr-00028-JG Doc #: 8 Filed: 01/16/19 4 of 4. PagelD #: 36

these offenses, Defendant MATTHEW MULFORD shall forfeit to the United States any and all
property constituting, or derived from, any proceeds the defendant obtained, directly or
indirectly, as the result of such offenses; and, any and all of the defendant’s property used or
intended to be used, in any manner or part, to commit or to facilitate the commission of such
offenses; including, but not limited to, the following:
a. 1.46355 5 56 Bitcoin recovered from MATTHEW MULFORD’s electrum
wallet on or about October 3, 2018.
b. HP laptop Model 15I112dx, Serial Number 5CD751 COVO, used by
MATTHEW MULFORD and recovered on or about October 3, 2018.

7. The allegations contained in Count 3 of this Indictment are hereby re-alleged and
incorporated by reference as if fully set forth herein for the purpose of alleging forfeiture
pursuant to the provisions of Title 18, United States Code, Section 982(a)(1). As a result of this
offense, Defendant MATTHEW MULFORD shall forfeit to the United States all property, real
and personal, involved in such offense, and all property traceable to such property; including, but
not limited to, the following:

a. 1.46355556 Bitcoin recovered from MATTHEW MULFORD’s electrum
wallet on or about October 3, 2018.
b. HP laptop Model 151112dx, Serial Number 5CD751COVO, used by

MATTHEW MULFORD and recovered on or about October 3, 2018.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
